                    Case 20-16032            Doc 1        Filed 08/23/20 Entered 08/23/20 19:41:37                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rich Industries, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  489 Thomas Drive
                                  Bensenville, IL 60106
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.richindistries.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Rich Industries, Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


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Debtor   Rich Industries, Inc.                                                       Case number (if known)
         Name




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Debtor   Rich Industries, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Rich Industries, Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      August 20, 2020
                                                   MM / DD / YYYY


                             X    /s/ Richard Rogala                                                       Richard Rogala
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   President




18. Signature of attorney    X    /s/ Gregory K. Stern                                                      Date August 20, 2020
                                  Signature of attorney for debtor                                               MM / DD / YYYY

                                  Gregory K. Stern 6183380
                                  Printed name

                                  Gregory K. Stern, P.C.
                                  Firm name

                                  53 West Jackson Boulevard
                                  Suite 1442
                                  Chicago, IL 60604
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (312) 427-1558                Email address      greg@gregstern.com

                                  6183380 IL
                                  Bar number and State




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 Fill in this information to identify the case:
 Debtor name Rich Industries, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 A.I. Technology, Inc.                                           Trade Debt                                                                                                   $977.00
 30503 Anderson
 Court
 Wixom, MI 48393
 Airways Freight                                                 Trade Debt                                                                                                 $1,750.00
 P.O. Box 1888
 Fayetteville, AR
 72702
 Anco Steel Company                                              Trade Debt                                                                                               $25,976.00
 P.O. Box 71787
 Chicago, IL 60694
 Apex Wire Products                                              Trade Debt                                                                                               $11,308.85
 Company Inc.
 9030 Gage Avenue
 Franklin Park, IL
 60131
 Armour Screw                                                    Trade Debt                                                                                                 $2,320.00
 Company
 501 Busse
 Elk Grove Village, IL
 60007
 Best Quality Cleaning                                           Trade Debt                                                                                                 $1,750.00
 10015 Pacific Avenue
 Franklin Park, IL
 60131
 Campos Skid Inc.                                                Trade Debt                                                                                                 $1,259.60
 505 Sundown Road,
 Unit 5
 South Elgin, IL 60177
 Comcast                                                         Services                                                                                                     $406.94
 155 Industrial Dr.
 Elmhurst, IL 60126
 Comdata                                                         Corporate Debt                                                                                           $20,000.00
 5301 Maryland Way
 Brentwood, TN 37027




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Rich Industries, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Commonwealth                                                    Services                                                                                                   $1,288.63
 Edison
 1919 Swift Drive
 Oak Brook, IL 60523
 D & N Deburring                                                 Trade Debt                                                                                                   $945.00
 2919 North Birch
 Street
 Franklin Park, IL
 60131
 EXO Fabrications,                                               Trade Debt                                                                                                   $421.84
 Inc.
 1140 West Fullerton
 Avenue
 Addison, IL 60101
 Holland                                                         Trade Debt                                                                                                 $1,321.42
 700 S. Waverly Road
 Holland, MI 49423
 Lakeside Bank                                                   Payroll Protection                                                                                       $61,000.00
 55 West Wacker                                                  Program Loan
 Drive
 Chicago, IL 60601
 Nationwide Gage                                                 Trade Debt                                                                                                   $923.18
 Calibration, Inc.
 159 Covington Drive
 Bloomingdale, IL
 60108
 NSF International -                                             Trade Debt                                                                                                   $853.49
 Canada
 c/o Hunter Warfield
 4645 South
 Lakeshore Drive, #11
 Tempe, AZ 85282
 NWP IL TT, LLC                                                  Lease Default          Contingent                                                                        $46,503.25
 9450 W. Bryn Mawr                                                                      Unliquidated
 Avenue                                                                                 Disputed
 Suite 750
 Chicago, IL 60618
 Tri-City Corrugated,                                            Trade Debt                                                                                                   $565.00
 Inc.
 1345 Brewster Creek
 Blvd.
 Bartlett, IL 60103
 Worth Steel                                                     Trade Debt                                                                                                 $2,559.30
 4001 West 123rd
 Street
 Alsip, IL 60803
 Worth Steel &                                                   Trade Debt                                                                                                 $2,559.30
 Machinery Inc.
 4001 W. 123rd Street
 Alsip, IL 60803




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      A.I. Technology, Inc.
                      30503 Anderson Court
                      Wixom, MI 48393


                      Airways Freight
                      P.O. Box 1888
                      Fayetteville, AR 72702


                      Anco Steel Company
                      P.O. Box 71787
                      Chicago, IL 60694


                      Apex Wire Products Company Inc.
                      9030 Gage Avenue
                      Franklin Park, IL 60131


                      Armour Screw Company
                      501 Busse
                      Elk Grove Village, IL 60007


                      Best Quality Cleaning
                      10015 Pacific Avenue
                      Franklin Park, IL 60131


                      Campos Skid Inc.
                      505 Sundown Road, Unit 5
                      South Elgin, IL 60177


                      Comcast
                      155 Industrial Dr.
                      Elmhurst, IL 60126


                      Comdata
                      5301 Maryland Way
                      Brentwood, TN 37027


                      Commonwealth Edison
                      1919 Swift Drive
                      Oak Brook, IL 60523


                      D & N Deburring
                      2919 North Birch Street
                      Franklin Park, IL 60131
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                  Direct Capital Lending
                  634 N. Main Street
                  Porterville, CA 93257


                  E-Com Systems, Inc.
                  9201 Corporate Blvd.
                  Suite 420
                  Rockville, MD 20850


                  EXO Fabrications, Inc.
                  1140 West Fullerton Avenue
                  Addison, IL 60101


                  Fix A Lift, Inc.
                  P.O. Box 4
                  Streamwood, IL 60107


                  Holland
                  700 S. Waverly Road
                  Holland, MI 49423


                  Illinois Department of Employment
                  Security
                  33 South State Street
                  10th Floor
                  Chicago, IL 60603


                  Illinois Department of Revenue
                  Bankruptcy Section
                  P.O. Box 64338
                  Chicago, IL 60664-0338


                  Illinois Manufacturing Directory
                  1633 Central Street
                  Evanston, IL 60201


                  Internal Revenue Service
                  Centralized Insolvency Operation
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Lakeside Bank
                  55 West Wacker Drive
                  Chicago, IL 60601
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                  Nationwide Gage Calibration, Inc.
                  159 Covington Drive
                  Bloomingdale, IL 60108


                  Nicor Gas
                  P.O. Box 2020
                  Aurora, IL 60507-2020


                  NSF International - Canada
                  c/o Hunter Warfield
                  4645 South Lakeshore Drive, #11
                  Tempe, AZ 85282


                  NWP IL TT, LLC
                  9450 W. Bryn Mawr Avenue
                  Suite 750
                  Chicago, IL 60618


                  On Time Messenger Service
                  P.O. Box 871
                  Elk Grove Village, IL 60009


                  Ronald Stearney
                  211 West Wacker Drive
                  Suite 1250
                  Chicago, IL 60606


                  Savaglio Brothers, Inc.
                  6020 N. Kostner Avenue
                  Chicago, IL 60646


                  Summit Financial Resources, LLC
                  2455 East Parleys Way, Suite 200
                  Salt Lake City, UT 84109


                  Tri State Propane Exchange LLC
                  P.O. Box 430
                  Minooka, IL 60447


                  Tri-City Corrugated, Inc.
                  1345 Brewster Creek Blvd.
                  Bartlett, IL 60103
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                  Worth Steel
                  4001 West 123rd Street
                  Alsip, IL 60803


                  Worth Steel & Machinery Inc.
                  4001 W. 123rd Street
                  Alsip, IL 60803
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Rich Industries, Inc.                                                                        Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rich Industries, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 20, 2020                                                     /s/ Gregory K. Stern
 Date                                                                Gregory K. Stern 6183380
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Rich Industries, Inc.
                                                                     Gregory K. Stern, P.C.
                                                                     53 West Jackson Boulevard
                                                                     Suite 1442
                                                                     Chicago, IL 60604
                                                                     (312) 427-1558 Fax:(312) 427-1289
                                                                     greg@gregstern.com




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